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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION

 UNITED STATES OF AMERICA,

                        Plaintiff,

 v.                                                   Case Number 10-20635
                                                      Honorable David M. Lawson
 CHRISTOPHER ESPINOZA,

                   Defendant.
 ______________________________/

           ORDER DENYING MOTION TO RECONSIDER ORDER DENYING
                   MOTION FOR ADJOURNMENT OF TRIAL

        The Court has received a motion filed by attorney Joseph A. Niskar, who alleges that he is

 the attorney of record in this case for “Defendant John Sonaike.” In the motion, Mr. Niskar asks the

 Court to reconsider its ruling from the bench last week declining to adjourn the trial in this case,

 which is presently scheduled to commence on October 16, 2012. It appears that Mr. Niskar actually

 represents defendant Christopher Espinoza in this case. There is no “John Sonaike” named in the

 indictment.

        In the reconsideration motion, Mr. Niskar recites his busy trial schedule, suggesting that

 another trial in which he is involved, the case of United States v. Pramod Raval, is scheduled to

 begin before Judge Denise Hood in this district on October 1, 2012 and run through the end of that

 month. Mr. Niskar also makes reference to a trial in which he will be involved in the Oakland

 County Circuit Court, also scheduled to begin in October.

        As mentioned, the Court denied counsel’s initial motion to adjourn trial from the bench on

 September 25, 2012. The Court observed that trial in this case had been scheduled to begin October

 16, 2012, and some of the co-defendants in the case have demanded a speedy trial. During the
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 motion argument, counsel and the Court discussed the trial schedules of all the attorneys, and that

 information was taken into consideration.

        Motions for reconsideration may be granted pursuant to E.D. Mich. LR 7.1(g)(1) when the

 moving party shows (1) a “palpable defect,” (2) that misled the court and the parties, and (3) that

 correcting the defect will result in a different disposition of the case. E.D. Mich. LR 7.1(g)(3). A

 “palpable defect” is a defect which is obvious, clear, unmistakable, manifest, or plain. Mich. Dep’t

 of Treasury v. Michalec, 181 F. Supp. 2d 731, 734 (E.D. Mich. 2002) (citations omitted). However,

 motions for reconsideration should not be granted when they “merely present the same issues ruled

 upon by the court, either expressly or by reasonable implication.” E.D. Mich. LR 7.1(g)(3).

        The present motion presents nothing new. As the Court stated on the record, the Court

 consulted with the judge in the Oakland County case and with Judge Hood concerning the

 competing trial schedules. Judge Hood believed that her case would conclude before October 16,

 2012, although she stated that she could not guarantee that timing. The Oakland County judge

 expressed a willingness to coordinate the trial schedules in order to avoid a conflict for defense

 counsel.

        Counsel in the present case cites the need to prepare as a reason justifying his adjournment

 request. However, it appears that counsel has been involved in this case since the beginning of

 March of this year, he has received the discovery from the government on a timely basis, and he has

 not found the necessity to file pretrial motions, with the exception of motions to extend motion filing

 dates and to adjourn the trial. The Court has adjourned the trial on prior occasions to accommodate

 the needs of other counsel. In addition, other adjournments were necessitated by the government’s

 filing of superseding indictments.


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        The Court understands that it may be difficult for defense counsel to prepare for serial trials.

 And it may turn out that Judge Hood’s case will not conclude by October 16, 2012. However, the

 Court indicated its intention on the record to trail this case and provide Mr. Niskar some hiatus

 between the conclusion of his trial before Judge Hood and the commencement of the present case.

 Consequently, the Court stated on the record its reluctance to postpone the October 16, 2012 trial

 date at the present time.       The defendant has presented no information in his motion for

 reconsideration to cause the Court to change its view.

        Accordingly, the motion for reconsideration [dkt. #346] of the order denying the motion to

 adjourn trial is DENIED.

                                                        s/David M. Lawson
                                                        DAVID M. LAWSON
                                                        United States District Judge

 Dated: September 27, 2012




                                                  PROOF OF SERVICE

                          The undersigned certifies that a copy of the foregoing order was served
                          upon each attorney or party of record herein by electronic means or first
                          class U.S. mail on September 27, 2012.

                                                            s/Deborah R. Tofil
                                                            DEBORAH R. TOFIL




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